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                         IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF DELAWARE

 ARBUTUS BIOPHARMA CORPORATION              )
 and GENEVANT SCIENCES GmbH,                )
                                            )
                Plaintiffs,                 )
                                            )
    v.                                      ) C.A. No. 22-252-MSG
                                            )
 MODERNA, INC. and MODERNATX, INC.,         )
                                            )
                Defendants.                 )


         LETTER TO THE HONORABLE MITCHELL S. GOLDBERG FROM
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INDs provide “compelling evidence” nullifying its obviousness defenses, to the extent Moderna
is not estopped from raising them in light of its failed IPRs. Adv. Display Sys., Inc. v. Kent State
Univ., 212 F.3d 1272, 1285 (Fed. Cir. 2000). Moderna’s INDs are also relevant to willful
infringement by demonstrating its knowledge of, and history with, the patents and patented
technology. Georgetown Rail Equip. Co. v. Holland L.P., 867 F.3d 1229, 1245 (Fed. Cir. 2017).
Even divorced from these legal theories, Moderna’s INDs likely contain statements directly
commenting on the technology at issue in this case, and are plainly relevant for that reason as well.

        Moderna offers no valid reason the requested IND sections should not be produced. First,
Moderna asserts that certain INDs (from 2017) are irrelevant to copying and willfulness because
Moderna’s work was conducted pursuant to an unauthorized sublicense from Acuitas, D.I. 1 ¶¶
32–34, or based on publicly available information. Setting aside that this argument does not
address the full scope of non-public INDs that Plaintiffs seek, Moderna’s attorney argument does
not render its INDs non-discoverable. Nor does the fact that certain IND studies may have been
conducted pursuant to a license change their relevance to willful infringement here, which
concerns activities beyond the scope of the license. Georgetown Rail, 867 F.3d at 1245. And none
of this addresses the fact that the requested documents contain Moderna’s indisputably relevant
statements regarding the patented technology.

        Moderna also objects that the INDs concern non-accused products. But the requested INDs
include information about
Exs. 2–6. Regardless, there is no rule limiting discovery to the accused product only. See, e.g.,
Eli Lilly & Co. v. Wockhardt Ltd., 2010 WL 2605855, at *5 (S.D. Ind. June 22, 2010) (compelling
production of IND for another formulation). “[C]ourts have allowed discovery to include non-
accused products where a party either demonstrates the relevance of the non-accused products to
the allegations and or their reasonable similarity to the accused product,” as Plaintiffs have done
here, and “Delaware federal district courts . . . have concluded that discovery into non-accused
products, particularly prior to the filing of final contentions, is permissible as long as it is narrowly
tailored.” LKQ Corp. v. Kia Motors Am., Inc., 2023 WL 3455315, at *3 (N.D. Ill. May 15, 2023);
Invensas Corp. v. Renesas Elecs. Corp., 287 F.R.D. 273, 283 (D. Del. 2012); Elm 3DS Innovations,
LLC v. Samsung Elecs. Co., Ltd., 2015 WL 13902870, at *1–2 (D. Del. June 30, 2015). Moderna’s
INDs for products using Plaintiffs’ lipid ratios are precisely the sort of “narrowly tailored,” highly
relevant discovery that poses minimal burden, and should be compelled.

        Sales Discovery (RFPs 60, 64, 69, 74, 75, 81, 83, Ex. 9 at 14–18; Interrog. 11, Ex. 10).
Moderna also refuses to produce discovery concerning sales of the batches that it unilaterally
deems non-infringing under 35 U.S.C. § 271(a) because they were not manufactured or used in the
U.S. Ex. 11 at 1. Moderna disregards Plaintiffs’ allegations that Moderna’s sales of these batches
occurred in the U.S., e.g., D.I. 1 ¶¶ 50–54, 70, and defies binding precedent stating that such U.S.
sales are infringing acts. E.g., Caltech v. Broadcom Ltd., 25 F.4th 976, 993 (Fed. Cir. 2022);
Carnegie Mellon Univ. v. Marvell Tech. Grp., Ltd., 807 F.3d 1283, 1310 (Fed. Cir. 2015). Sales
“for products manufactured, delivered, and used entirely abroad,” may “be found to have occurred
in the United States”—and thus infringing under § 271(a)—“where a substantial level of sales
activity occur[ed]” in the U.S. Ex. 12 at Appx184, aff’d in relevant part Caltech, 25 F.4th at 992.
And products “not made or used in, or imported into, the United States” may infringe if there is a
“domestic location of sale.” CMU, 807 F.3d at 1310. Determining where a sale occurred is a fact-
specific inquiry, in which courts have considered (1) where a contract or sale was negotiated; (2)
where purchase orders and payments issue or are received; (4) where a contract was executed; (5)
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where contingent actions under a contract occur; (6) where specific orders are negotiated or
finalized; (7) where marketing activities occur or are directed; and/or (8) where testing or design
work underlying the sale occurred. See, e.g., Caltech, 25 F.4th at 976; Halo Elecs., Inc. v. Pulse
Elecs., Inc., 831 F.3d 1369, 1378 (Fed. Cir. 2016); CMU, 807 F.3d at 1308; Ex. 13.

         Moderna ignores this precedent, and refuses discovery, by baldly declaring its sales
occurred abroad. Ex. 14 at 1. Moderna improperly confuses its unilateral view of the merits of
infringement with discoverability. Plaintiffs are not obligated to accept Moderna’s untested
assertions, but are “entitled to discover the extent to which [Moderna] has engaged in foreign sales
activities” to determine if sales of products made and used abroad in fact “occurred within the
U.S.” McGinley v. Luv N’Care, Ltd., 2018 WL 9814589, at *5 (W.D. La. Sept. 10, 2018).
Plaintiffs are “not required to prove [their] case” for infringing sales “before being entitled to such
discovery.” Apeldyn Corp. v. AU Optronics Corp., 2010 WL 11470585, at *1 (D. Del. Apr. 12,
2010) (compelling “worldwide sales data”); Pos. Techs., Inc. v. Sony Elecs., Inc., 2013 WL
707914, at *6 (N.D. Cal. Feb. 26, 2013) (“It would be improper under Rule 26 to expect Plaintiff
to show that the discovery it seeks is admissible when it has not yet obtained the discovery.”).
Moderna cannot dispute that significant sales activities occurred at its U.S. headquarters, key
testing and design work occurred in the U.S., and employees executed contracts in the U.S.
Moderna should be compelled to produce documents and information concerning the sales of its
COVID-19 vaccine that it contends were for batches manufactured and used abroad, and not to
limit discovery to batches manufactured or used in the U.S, as it has in response to each of
Plaintiffs’ requests. 1

        Board Materials (RFP 130, Ex. 1 at 2). Moderna refuses to produce minutes of meetings
of, and materials provided to, its Board of Directors discussing the accused product. Moderna has
acknowledged that this request “is narrowly circumscribed,” Ex. 15 at 7, and has not disputed
relevance. Nor could it. Such materials are directly relevant to damages, as planning and strategy
around the accused product are evidence about the hypothetical negotiation. Indeed, Moderna’s
CEO testified before Congress that its Board made strategic sales decisions, including agreeing to
give an unsolicited $2.9 billion discount to the U.S. Government. Ex. 16, 54:5-22, 83:9. Moderna
also has not asserted burden, as such materials generally are centrally stored. Ex. 15 at 10.

        Moderna’s sole basis to resist production has been shifting counter-demands. Plaintiffs
agreed to produce the same scope of Board materials requested from Moderna, plus more. Ex. 15
at 4. So Moderna demanded yet more: first that Plaintiffs produce their and their predecessors’
board materials concerning not just the accused product, but effectively every LNP made in their
two-decade-plus history. Then, Moderna demanded that Plaintiffs and non-party Roivant produce
documents discussing lipid molar ratios and the asserted patents. Ex. 15 at 2. This conditioning
is improper. Genentech, Inc. v. Trustees of Univ. of Pa., 2011 WL 7074208, at *1 (N.D. Cal. June
10, 2011). The documents Plaintiffs seek are targeted and plainly relevant to damages. Courts
routinely compel defendants in patent litigation to produce board materials regarding the accused
product, and Plaintiffs respectfully request the Court follow suit here. E.g., Vasudevan Software,
Inc. v. MicroStrategy Inc., 2013 WL 597655, at *1 (N.D. Cal. Feb. 15, 2013) (ordering production
of board minutes); Unilin Beheer B.V. v. NSL Trading Corp., 2015 WL 12698382, at *9 (C.D. Cal.
Feb. 27, 2015) (ordering investigation into board minutes and other financial documents).


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    Plaintiffs have also sought samples of such batches. D.I. 161.
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                                               Respectfully submitted,
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cc:   Clerk of the Court (by CM/ECF)
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